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11

12
                               UNITED STATES DISTRICT COURT
13
                             NORTHERN DISTRICT OF CALIFORNIA
14

15                                    SAN JOSE DIVISION

16
     UNITED STATES OF AMERICA,              )   Case No. CR-18-00258-EJD
17                                          )
            Plaintiff,                      )   MS. HOLMES’ MOTION TO EXCLUDE
18                                          )   CERTAIN EVIDENCE AND ARGUMENT
       v.
                                            )   REGARDING THIRD-PARTY TESTING
19                                          )   PLATFORMS UNDER FEDERAL RULES OF
     ELIZABETH HOLMES and
20   RAMESH “SUNNY” BALWANI,                )   EVIDENCE 401-403, 404(B), AND 702
                                            )
21          Defendants.                     )   Date: January 22, 2021
                                            )   Time: 10:00 AM
22                                          )   CTRM: 4, 5th Floor
                                            )
23
                                            )   Hon. Edward J. Davila
24                                          )
                                            )
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     MS. HOLMES’ MOTION TO EXCLUDE CERTAIN EVIDENCE AND ARGUMENT REGARDING
     THIRD-PARTY TESTING PLATFORMS UNDER RULES 401-403,404(B), AND 702
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 1                      MOTION TO EXCLUDE CERTAIN EVIDENCE AND
                   ARGUMENT REGARDING THIRD-PARTY TESTING PLATFORMS
 2
            PLEASE TAKE NOTICE that on January 22, 2021, at 10:00 a.m., or on such other date and time
 3
     as the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose,
 4
     CA 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Holmes will and hereby does
 5
     respectfully move the Court pursuant to Rules 401-403, 404(B), and 702 of the Federal Rules of
 6
     Evidence to exclude evidence and argument that Theranos tampered with and concealed commercially
 7
     available third-party diagnostic testing platforms. The Motion is based on the below Memorandum of
 8
     Points and Authorities, the record in this case, and any other matters that the Court deems appropriate.
 9

10
     DATED: November 20, 2020
11

12
                                                          /s/ Amy Mason Saharia
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                                                          LANCE WADE
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28 MS. HOLMES’ MOTION TO EXCLUDE CERTAIN EVIDENCE AND ARGUMENT REGARDING
   THIRD-PARTY TESTING PLATFORMS UNDER RULES 401-403, 404(B), AND 702
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 1                           MEMORANDUM OF POINTS AND AUTHORITIES

 2          The government seeks to introduce evidence under Federal Rule of Evidence 404(b) that Ms.

 3 Holmes and/or Mr. Balwani authorized others at Theranos to “alter[] or tamper[] with” commercial

 4 testing devices and then “concealed” these changes while Theranos used the testing platforms to provide

 5 testing services to patients. According to the government, such evidence tends to show that Theranos’

 6 separate proprietary analyzer was not capable of consistently producing accurate and reliable testing

 7 results and that Ms. Holmes made misrepresentations to investors and patients about the accuracy and

 8 reliability of Theranos’ tests.

 9          The government may be able to introduce evidence to show that Theranos made modifications to

10 commercially available testing platforms, that it used these modified platforms for patient testing, and

11 that Theranos sought to protect the modifications in non-published patent applications and as trade

12 secrets. But nothing in the government’s Rule 404(b) notices establishes any improper conduct, whether

13 that be alleged tampering or concealment of the testing platforms or otherwise. To establish that

14 Theranos’ modifications to third-party machines were improper would require expert testimony, and the

15 government has disclosed none. To the contrary, the government’s own witnesses—including two of its

16 proffered experts—have previously stated that the modifications made to the commercial platforms were

17 appropriate, and that clinical tests using the modified platforms were properly validated as Laboratory

18 Developed Tests (“LDTs”) under the applicable regulatory framework for use in Theranos’ CLIA

19 (“Clinical Laboratory Improvements Amendments”) laboratory in California.1 Without more, the

20 government should not be allowed to present its misleading and inflammatory narrative about these

21 modifications at trial.

22          Similarly, any argument or evidence that Theranos improperly “concealed” modifications serves

23 only to further the government’s efforts to twist Theranos’ use of trade secrets practices. It is not

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25          Laboratory Developed Tests (“LDTs”) are diagnostic tests that are designed and used within a
   single laboratory. The FDA allows laboratories with a sufficient certification under CLIA to develop
26 and use these types of tests for clinical patient testing so long as the tests are validated by the laboratory
   under a process defined by the CLIA regulations. See FDA, Laboratory Developed Tests,
27 https://www.fda.gov/medical-devices/vitro-diagnostics/laboratory-developed-tests (last updated Sept.
   27, 2018).
28 MS. HOLMES’ MOTION TO EXCLUDE CERTAIN EVIDENCE AND ARGUMENT REGARDING
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 1 probative of any determinative fact, will unfairly prejudice Ms. Holmes, and will risk a conviction based

 2 on improper propensity reasoning. For these reasons, the Court should preclude the government from

 3 introducing evidence or argument at trial to prove that the company “tampered with” commercial testing

 4 platforms or that these modified platforms were “concealed” under Rules 401-403, 404(b), and 702.

 5                                              BACKGROUND

 6          In 2013, before launching retail testing services at Walgreens, Theranos investigated the

 7 possibility of operationalizing its proprietary small-sample testing methodology on commercially

 8 available high-throughput testing platforms in its centralized CLIA laboratory. The company

 9 investigated, for example, the feasibility of running small sample tests on the ADVIA 1800 Chemistry

10 System manufactured by Siemens AG. Ex. 46 at 26 (TS-0959090). Theranos ultimately invented

11 several species of modifications to the ADVIA 1800 in order to run its proprietary small-sample tests

12 with significantly less blood than what was required for a standard laboratory test. See id.

13          First, the company modified the ADVIA 1800’s software protocols to use Theranos’ proprietary

14 small-sample protocols. Id. The ADVIA 1800 is pre-programmed with FDA-approved testing methods

15 developed by Siemens, but it is also an “open platform” that allows end-users to program custom testing

16 methods into the device. In other words, Siemens specifically contemplates that the ADVIA 1800

17 platform may be modified. The ADVIA 1800’s operating manual notes that end-users like Theranos can

18 program the platform to “set up new tests” and “define new methods.” Ex. 44 at 59 (THER-0644560).

19 Dr. Adam Rosendorff, Theranos’ former laboratory director and an expert witness proffered by the

20 government, confirmed that the ADVIA 1800 has “open channels” that can be used to run proprietary

21 tests. Ex. 47 at 2 (US-REPORTS-0007375). Dr. Daniel Young, Theranos’ vice president of systems

22 and another government expert, previously testified that the ADVIA 1800 is an “open platform[], which

23 means that the manufacturer (Siemens, in this case) allows the end user to put their own protocols on the

24 instrument.” Ex. 41 at 186:22-24 (May 17, 2018 Young Dep.). Dr. Young further explained that

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28 MS. HOLMES’ MOTION TO EXCLUDE CERTAIN EVIDENCE AND ARGUMENT REGARDING
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 1 Theranos “didn’t modify [Siemens’] software per se” and instead “wrote our own protocols using

 2 [Siemens’] software,” id. at 189:19-23, as contemplated by the ADVIA 1800 operating manual.

 3          Second, the company designed and manufactured a small proprietary hardware insert—referred

 4 to as a “T-cup”—that it placed in the ADVIA 1800’s sample cup in order to reduce the sample volume

 5 required to perform each assay. Ex. 46 at 26; see Ex. 42 at 213:2-14 (Feb. 26, 2019 Rosendorff Dep.)

 6 (recognizing that the T-cup was a “novel concept”). This modification added an additional piece of

 7 hardware to the ADVIA 1800, but it did not require a change to the physical components of the device.

 8 This modification was the subject of a United States patent that was initially filed as a confidential

 9 provisional application, consistent with the company’s trade secrets practices, and later issued to the

10 individuals at the company, including Dr. Young, who led the research and development related to the

11 modified commercial devices. Ex. 43 (Holmes004524); Ex. 41 at 185:11-15.

12          Theranos incorporated these software and hardware inventions into the proprietary Theranos

13 tests that were run on the ADVIA 1800. Before any clinical patient testing occurred, however, the tests

14 were carefully reviewed and approved as LDTs by Theranos’ laboratory director, and Dr. Rosendorff

15 explained that he would approve an LDT only if he was comfortable using it for patient testing in the

16 clinical laboratory. Ex. 40 at 80:4-8, 212:19-23 (Jan. 16, 2018 Rosendorff Dep.); Ex. 46 at 209:15-19.

17          There was nothing improper about Theranos’ validating LDTs to run on modified commercial

18 testing platforms under the applicable regulatory framework. Sarah Bennett, an inspector with the

19 government’s Centers for Medicare and Medicaid Services (CMS), told government investigators that a

20 company like Theranos with a certified high-complexity CLIA laboratory can “tweak[] an FDA

21 approved test” so long as the other requirements for validating those tests as LDTs are satisfied before it

22 is used for clinical patient testing. Ex. 34 at 2 (US-REPORTS-0006781).

23          Theranos maintained these modifications as trade secrets in order to keep its competitors from

24 copying the practices and destroying Theranos’ competitive advantage in the market. Ex. 45

25 (THERDOJ-0004199); Ex. 41 at 185:7-10, 187:18-24, 188:11-14. As Dr. Young explained, he had a

26 “firm belief” that these modifications were highly advantageous for the company. Id. at 192:23-193:16.

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28 MS. HOLMES’ MOTION TO EXCLUDE CERTAIN EVIDENCE AND ARGUMENT REGARDING
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 1 Theranos did not, however, withhold information about these modifications from regulators who

 2 inquired about the company’s testing practices.

 3          The government intends to introduce evidence as to the existence and confidential nature of

 4 modifications under Rule 404(b). Category 15 of the government’s initial notice alleges that Theranos

 5 “altered or tampered with [commercial third parties platforms] by modifying them to run on smaller

 6 and/or diluted blood samples, contrary to . . . the manufacturers’ intended use for such devices.”2 Ex. 1

 7 at 7-8 (Mar. 6, 2020 Gov’t Rule 404(b) Notice). In its supplemental notice, the government alleges that

 8 Theranos did so with Ms. Holmes’ and/or Mr. Balwani’s knowledge and that Ms. Holmes previously

 9 admitted or authorized admissions about the use of the modified platforms. Ex. 3 at 68-70 (Sept. 28,

10 2020 Supp. Gov’t Rule 404(b) Notice). The government also claims that this evidence shows that

11 Theranos’ proprietary analyzer could not consistently produce accurate and reliable results, that the

12 analyzer had accuracy and reliability problems, and that Ms. Holmes made material false statements to

13 investors and patients. Id. at 70.

14                                               ARGUMENT

15          Theranos’ modifications to commercially available machines, and its development of Laboratory

16 Developed Tests that it ran on those machines, were innovative, valuable trade secrets. To be clear, Ms.

17 Holmes is not arguing that the government should be precluded from introducing evidence related to the

18 modifications or the tests run on the modified machines. The government should, however, be

19 precluded from insinuating that there was anything improper about such modification or that the

20 modifications violated the manufacturer’s specifications or from presenting any evidence of the same.

21 The government also should be precluded from suggesting that the measures Theranos implemented to

22 protect these trade secrets were improper.

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            2
26         The government initially alleged that these modifications also violated “industry standards,”
   although it failed to disclose an expert who would testify to the substance of such “industry standards.”
27 The government recently informed Ms. Holmes, without any explanation, that it would no longer be
   claiming an alleged violation of “industry standards” at trial.
28 MS. HOLMES’ MOTION TO EXCLUDE CERTAIN EVIDENCE AND ARGUMENT REGARDING
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 1 I.       The Court Should Preclude Argument or Questioning Suggesting that Theranos’
            Modifications to Commercially Available Testing Devices Were Improper.
 2
            A.      The Government Has Not Identified Evidence that Theranos “Tampered” with
 3                  Commercially Available Testing Devices or that Its Modifications of Commercially
                    Available Testing Devices Violated the Manufacturers’ Specifications.
 4

 5          It is axiomatic that the government cannot argue facts or inferences that are not supported by

 6 evidence. See United States v. Vargas-Rios, 607 F.2d 831, 838 (9th Cir. 1979) (noting “prosecutorial

 7 errors” arising from arguments during trial that were unsupported by the evidence). The government’s

 8 Rule 404(b) notice alleges that Theranos “tampered” with commercially available testing devices,

 9 suggesting that Theranos’ modifications were improper. As discussed above, however, no evidence

10 establishes that the modifications were improper. At most, the government’s evidence establishes only

11 that Theranos modified certain third-party open platform devices and that Ms. Holmes was aware of the

12 modifications. Indeed, the government’s own witnesses recognize that such modifications were

13 legitimate. It therefore would be inappropriate for the government to use the inflammatory word

14 “tampering” (or similar pejoratives) in argument or questioning when the evidence demonstrates that the

15 modifications are consistent with those contemplated by the manufacturer.

16          In addition, the government’s original Rule 404(b) notice alleged that Theranos’ modification of

17 commercially available testing platforms violated the manufacturers’ specifications. The government

18 has not disclosed any evidence establishing that Theranos’ modification violated the manufacturers’

19 specifications. Any argument or questioning suggesting the opposite would be improper.

20          The animating principles of Rule 403 also preclude such argument or questioning. Under Rule

21 403, evidence is inadmissible if its “probative value is substantially outweighed by a danger of . . . unfair

22 prejudice, confusing the issues, [or] misleading the jury.” Fed. R. Evid. 403; see also United States v.

23 Hearst, 563 F.2d 1331, 1336 (9th Cir. 1977). Evidence is unfairly prejudicial when it has “an undue

24 tendency to suggest decision on an improper basis, commonly, though not necessarily, an emotional

25 one.” United States v. Pac. Gas & Elec. Co., 178 F. Supp. 3d 927, 941 (N.D. Cal. 2016) (quoting Old

26 Chief v. United States, 519 U.S. 172, 180 (1997)).

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28 MS. HOLMES’ MOTION TO EXCLUDE CERTAIN EVIDENCE AND ARGUMENT REGARDING
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 1          The government is seeking to cast aspersions (without any evidence) on innovative technological

 2 developments at Theranos during the time period of the alleged conspiracy. Allowing the government to

 3 do so will only confuse the jury and encourage it to convict Ms. Holmes for otherwise unassailable

 4 conduct. Conversely, the propriety of Theranos’ modifications to commercial platforms has, at best,

 5 minimal probative value. That Theranos deployed its innovative small-sample testing technology on

 6 commercially available machines does not establish that the separate proprietary analyzer that Theranos

 7 developed from scratch could not consistently produce accurate and reliable results, that the separate

 8 analyzer had accuracy and reliability problems, or that Ms. Holmes made material false statements to

 9 investors and patients. See Ex. 3 at 70. Accordingly, any argument or questioning suggesting that

10 Theranos “tampered” with the machines, that Theranos’ modifications were inconsistent with

11 manufacturers’ specifications, or that its modifications were otherwise improper should be excluded.

12          B.     Even If the Government Had Identified Evidence of Improper Modifications, the
                   Court Should Exclude Such Evidence Under Rules 401-403, 404(b), and 702.
13

14          Even if the government had evidence that Theranos tampered with commercially available

15 testing platforms or that the modifications to those platforms were inconsistent with the manufacturers’

16 specifications, such evidence should still be excluded. To the extent the government intends to present

17 opinion testimony from witnesses that the modifications were improper, that is a technical opinion that

18 would need to be introduced through a witness qualified to offer opinions under Rule 702 as to the

19 propriety of the modifications at issue and/or the manufacturers’ specifications. The government has not

20 disclosed opinions sufficient to establish whether and the extent to which these modifications were

21 improper. This alone is sufficient to bar evidence that Theranos’ modifications to commercially

22 available testing platforms were improper.

23          To the extent the government could overcome the issues presented by Rule 702, it should still be

24 barred from presenting such evidence under Rule 403. As discussed, allowing the government to

25 introduce evidence that Theranos’ modifications were improper would confuse the jury and encourage it

26 to convict Ms. Holmes for uncharged conduct. It would also require mini-trials to establish the propriety

27 of each modification and the specification established by the manufacturer. At the same time, the

28 MS. HOLMES’ MOTION TO EXCLUDE CERTAIN EVIDENCE AND ARGUMENT REGARDING
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 1 probative value of such evidence would be minimal. And of course the use of this evidence for any

 2 propensity purpose—i.e., to suggest that because Ms. Holmes authorized improper modifications to

 3 third-party machines she must have done other improper things—would violate Rule 404(b). Even if the

 4 government had disclosed reliable expert testimony on this issue, it would be inadmissible for these

 5 reasons.

 6 II.      The Court Should Exclude Evidence Concerning the Particular Measures Theranos Took
            to Protect the Modified Commercial Devices as Trade Secrets.
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 8          Theranos considered its modifications to commercial testing platforms to be valuable trade

 9 secrets, and it took the necessary steps to protect them as such. For the reasons set forth in Ms. Holmes’

10 contemporaneously filed Motion to Exclude Evidence of Theranos’ Trade Secrets Practices, the Court

11 should preclude the government from introducing at trial evidence of Theranos’ trade secrets practices in

12 order to convince the jury that Ms. Holmes sought to hide issues with Theranos’ proprietary analyzer.

13 See Ex. 3 at 70. The government, for example, should not be allowed to introduce evidence about what

14 information was or was not shared with representatives from Siemens AG, the company that

15 manufactured the ADVIA 1800 device that was modified. See id. at 69. For the same reasons discussed

16 in Ms. Holmes’ contemporaneous motion, there is no probative value to this evidence, it will unfairly

17 prejudice Ms. Holmes by allowing the government to build an inflammatory narrative out of legally

18 required conduct, it will confuse the jury, and it will spawn mini-trials about the reasons that Theranos

19 sought to implement specific measures to prevent the public disclosure of its proprietary technology.

20                                               CONCLUSION

21          For the foregoing reasons, Ms. Holmes respectfully requests an order precluding the government

22 from introducing evidence, argument, or questioning that Theranos tampered with commercial

23 laboratory testing platforms, that the modification of these platforms violated manufacturer

24 specifications, or that Theranos improperly concealed modifications to these platforms.

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28 MS. HOLMES’ MOTION TO EXCLUDE CERTAIN EVIDENCE AND ARGUMENT REGARDING
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 1 DATED: November 20, 2020                 Respectfully submitted,

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 5                                          KATHERINE TREFZ
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on November 20, 2020 a copy of this filing was delivered via ECF on all

 3 counsel of record.

 4

 5                                                     /s/ Amy Mason Saharia
                                                       AMY MASON SAHARIA
 6                                                     Attorney for Elizabeth Holmes
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     MS. HOLMES’ MOTION TO EXCLUDE CERTAIN EVIDENCE AND ARGUMENT REGARDING
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